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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                                                                7018   NOV -7   AM   tO:   O
                                  AUSTIN DIVISION

 AMY SMITH, JULIE ANN NITSCH,                   §
 MARINA CONNER, EMILY                           §
 BORCHARDT, ANGELA FIELDING,                    §
 ANISHA ITUAH (BY AND THROUGH                   §
 HER LEGAL GUARDIAN ANGELA                      §
 MCKAY), HEATHER SIN, AND                       §
 SARAH JONES, EACH INDIVIDUALLY                 §
 AND ON BEHALF OF ALL OTHERS                    §
 SIMILARLY SITUATED,                            §
                  PLAiNTIFFS,                   §
                                                §
 V.                                             §    CAUSE NO. A: 1 8-CV-00505-LY
                                                §
 CITY OF AUSTIN, TRAVIS COUNTY                  §
 DISTRICT ATTORNEY MARGARET                     §
 MOORE, FORMER TRAVIS COUNTY                    §
 DISTRICT ATTORNEY ROSEMARY                     §
 LEHMBERG, AUSTIN POLICE CHIEF                  §
 BRIAN MANELY, FORMER AUSTIN                    §
 POLICE CHIEF ART ACE VEDO, AND                 §
 TRAVIS COUNTY, TEXAS,                          §
                  DEFENDANTS.                   §


                          ORDER SETTING ORAL ARGUMENT

       Before the court in the above styled and numbered cause are City Defendants' Rule 12(b)(l)

and 12(b)(6) Motion to Dismiss filed September 7, 2018 (Clerk's Document No. 40); Defendants

Travis County, District Attorney Margaret Moore, and Former District Attorney Rosemary

Lehmberg's Motion to Dismiss Plaintiffs' First Amended Class Action Complaint filed September

11, 2018 (Clerk's Document No. 43); Plaintiffs' Omnibus Response to Defendants' Motions to

Dismiss filed October22, 2018 (Clerk's Document No. 49); City Defendants' Reply Brief in Support

of Dismissal of First Amended Class Action Complaint filed November 5,2018 (Clerk's Document

No. 53); and Defendants Travis County, District Attorney Margaret Moore, and Former District
          Case 1:18-cv-00505-LY Document 57 Filed 11/07/18 Page 2 of 2



Attorney Rosemary Lehmberg's Reply to Plaintiffs' Response to Defendants' Motion to Dismiss

Plaintifffs' First Amended Class Action Complaint filed November 5, 2018 (Clerk's Document No.

54). Having considered the case file,

       IT IS ORDERED that these motions are set for oral argument at 9:30 a.m. on Tuesday,

December 11,2018, in Courtroom 7, Seventh Floor of the United States Courthouse, 501 West 5th

Street, Austin, Texas.

       Each side shall have 30 minutes to argue. Plaintiffs may reserve some of their time for

rebuttal and Defendants may divide their time as they deem appropriate.

       SIGNED this       iL     day of November, 2018.




                                            LEVV
                                            UNI ED STAT S DISTRICT JUDGE




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